                 Case 18-13099-leb          Doc 13      Entered 05/31/18 10:23:14            Page 1 of 1
NVB 1007−1 (Rev. 8/16)


                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA


 IN RE:                                                           BK−18−13099−leb
                                                                  CHAPTER 7
 JASON CONNOR BRINGS


                                     Debtor(s)                    NOTICE OF INCOMPLETE
                                                                  AND/OR DEFICIENT FILING




NOTICE IS GIVEN that the above debtor(s) filed a voluntary petition on 5/30/18. Pursuant to the Federal Rules of
Bankruptcy Procedure and the Local Rules for the District of Nevada, the Clerk has noted deficiencies to the petition
and/or schedules and statements of this debtor(s) as listed below. This Notice advises the debtor(s) of deficiencies
noted by the Clerk in the filing of the Voluntary Petition and related documents. This Notice does not cover all duties
and requirements a debtor must perform, and there may be other deficiencies not noted below. Failure to cure the
deficiencies within the time allowed by law or by an extension granted by court order may result in the
dismissal of this case.


SCHEDULES, STATEMENTS AND CERTIFICATIONS:

   *      The following schedules, required pursuant to Fed. R. Bankr. P. 1007 and LR 1007, were not filed with
          the Voluntary Petition:
            *       Declaration About an Individual Debtor's Schedules (Official Form 106Dec)
            *       Schedule H: Your Codebtors (Official Form 106H)
   *      The Statement of Intention for Individuals Filing Under Chapter 7 (Official Form 108), required pursuant
          to Fed. R. Bankr. P. 1007(b)(2) and 11 U.S.C. Section 521(a)(2), was not filed with the Voluntary
          Petition.


LIST OF CREDITORS:

   *      Pursuant to Fed. R. Bankr. P. 1007(a) and LR 1007(b), the voluntary petition was not accompanied by a
          list containing the names and addresses of the debtor's creditors. In addition, the debtor(s) has not filed a
          schedule of liabilities.
   *      The Verification of Creditor Matrix, required pursuant to Fed. R. Bankr. P. 1008, was not filed with the
          list of creditors.



NOTICE IS FURTHER GIVEN that the Federal Rules of Bankruptcy Procedure, Local Rules and Electronic Filing
Procedures are available on the court's web site at http://www.nvb.uscourts.gov.



Dated: 5/31/18


                                                              Mary A. Schott
                                                              Clerk of Court
